960 F.2d 147
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frizell STEPHENS, Petitioner-Appellant,v.CHIEF OF POLICE FOR LYNCHBURG, VIRGINIA;  William G. Petty,Commonwealth's Attorney for Lynchburg;  Edward W. Murray;S. L. Colmore;  Charles Watts;  R. L. Viar;  D. F.McCullock;  C. E. Jones;  G. Reynolds, Respondents-Appellees.
    92-6058.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 6, 1992April 17, 1992
    
      Frizell Stephens, Appellant Pro Se.  Walter Clyde Erwin, III, Assistant City Attorney, Lynchburg, Virginia;  Alexander Wayne Bell, Lynchburg, Virginia;  John H. McLees, Jr., Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Frizell Stephens appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Stephens v. Chief of Police, No. CA-90-535-R (W.D. Va.  Nov. 21, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    